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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                  ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                          amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Sungard Availability Services Capital, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          680 East Swedesford Road                                    50 Main Street, Suite 1014
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Wayne, Pennsylvania 19087                                   White Plains                    NY      10606
                                          City                            State      Zip Code         City                          State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Chester County
                                          County                                                      Number         Street




                                                                                                      City                          State     Zip Code




5. Debtor’s website (URL)                 www.sungardas.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Sungard Availability Services Capital, Inc.                        Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5182

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:

                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                  4/01/22 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                  of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ☒ A plan is being filed with this petition.

                                                                ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.      District                             When                      Case number
   within the last 8 years?                                                                      MM/DD/YYYY
     If more than 2 cases, attach a                District                             When                      Case number
     separate list.                                                                              MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                    Relationship     Affiliate
                                                   Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                       District      Southern District of New York
     List all cases. If more than 1,                                                                              When             05/01/2019
     attach a separate list.                       Case number, if known _______________________                                   MM / DD / YYYY



     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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Debtor           Sungard Availability Services Capital, Inc.                       Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☒     1,000-5,000                        ☐    25,001-50,000
    creditors (on a                   ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
    consolidated basis)               ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets (on a            ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
    consolidated basis)               ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☒     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Sungard Availability Services Capital, Inc.                         Case number (if known)
          Name



16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on          05/01/2019
                                                              MM/ DD / YYYY


                                              /s Eric S. Koza                                                    Eric S. Koza
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Restructuring Officer




18. Signature of attorney                     /s Jonathan S. Henes                                           Date        05/01/2019
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Jonathan S. Henes
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              601 Lexington Avenue
                                              Number               Street
                                              New York                                                               New York          10022
                                              City                                                                   State               ZIP Code
                                              (212) 446-4800                                                         jonathan.henes@kirkland.com
                                              Contact phone                                                               Email address
                                              2822203                                             New York
                                              Bar number                                          State




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    Fill in this information to identify the case:
    United States Bankruptcy Court for the:
                              Southern District of New York
                                            (State)                                                      ☐ Check if this is an
    Case number (if known):                                   Chapter     11                                 amended filing

                                                        Rider 1
                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Sungard Availability Services Capital, Inc.

•      Sungard Availability Services Capital, Inc.

•      Sungard Availability Services Holdings, LLC

•      Sungard Availability Services Technology, LLC

•      Sungard Availability Services, LP

•      Inflow LLC

•      Sungard Availability Services VeriCenter, Inc.

•      Sungard Availability Network Solutions Inc.
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           •         Fill in this information to identify the case:


           Debtor name            Sungard Availability Services Capital, Inc.

           United States Bankruptcy Court for                                                                                                  ☐
           the:                                           Southern District of New York                                                                     Check if this is an
           Case number                                                                                                                                      amended filing
                                                                                                     (State)
           (If known):


        Official Form 204
        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                       12/15



               •       A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
                       which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
                       Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places
                       the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                                    Amount of claim

                                                                                                  Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                                           unsecured claim amount. If claim is
                                                                                                    (for example,        Indicate if   partially secured, fill in total claim amount
                                                                                                     trade debts,         claim is       and deduction for value of collateral or
   Name of creditor and complete mailing              Name, telephone number and email
                                                                                                     bank loans,        contingent,        setoff to calculate unsecured claim.
       address, including zip code                       address of creditor contact
                                                                                                     professional      unliquidated,                 1Deducti
                                                                                                    services, and       or disputed      Total         on for
                                                                                                     government                        claim, if      value of
                                                                                                                                                                    Unsecured Claim
                                                                                                      contracts)                       partially     collateral
                                                                                                                                       secured       or setoff
                                                                                                                                                         [1]
                                                   P.O. BOX 911319
1 Gartner Inc.                                                                                    Trade                                                            $2,560,792.82
                                                   Dallas, TX 75391
                                                   Attn: Scott Minor
                                                   Scott.Minor@dell.com
                                                   1-610-608-4212
2 Dell Marketing L.P.                                                                             Trade                                                            $1,528,643.68
                                                   One Dell Way
                                                   Mail Stop 8129
                                                   Round Rock, TX 78682
3 Element Critical                                                                                Trade                                                            $1,102,258.51
                                                   Attn: Don Harrison
                                                   Donald.Harrison@veritas.com
4 Veritas Technologies LLC                         (856) 372 – 0360                               Trade                                                               $783,310.22
                                                   500 East Middlefield Road
                                                   Mountain View, CA 94043
                                                   77 GEARY STREET
5 Mulesoft, Inc.                                   St 400                                         Trade                                                               $640,286.01
                                                   San Francisco, CA 94108
                                                   P.O. BOX 15012
6 Russo Family Limited Partnership                                                                Trade                                                               $299,840.65
                                                   Newark, NJ 07191
                                                   Attn: Ron Podlesny
                                                   RPodlesny@intechconstruction.com
7 Intech Construction, Inc.                        215-243-4957                                   Trade                                                               $240,211.00
                                                   3020 Market Street
                                                   Philadelphia, PA 19104


               1
                   The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                Amount of claim

                                                                                 Nature of claim                    If the claim is fully unsecured, fill in only
                                                                                                                       unsecured claim amount. If claim is
                                                                                  (for example,      Indicate if   partially secured, fill in total claim amount
                                                                                   trade debts,       claim is       and deduction for value of collateral or
    Name of creditor and complete mailing     Name, telephone number and email
                                                                                   bank loans,      contingent,        setoff to calculate unsecured claim.
        address, including zip code              address of creditor contact
                                                                                   professional    unliquidated,                 1Deducti
                                                                                  services, and     or disputed      Total         on for
                                                                                   government                      claim, if      value of
                                                                                                                                                Unsecured Claim
                                                                                    contracts)                     partially     collateral
                                                                                                                   secured       or setoff
                                                                                                                                     [1]
                                            71 HUDSON ST
 8 410 Commerce LLC                                                              Trade                                                            $225,912.56
                                            Hackensack, NJ 07601
                                            Attn: Mark Spencer
                                            marks@accessitgroup.com
                                            610-783-5200 x204
 9 Access IT Group, Inc                                                          Trade                                                            $215,427.20
                                            2000 Valley Forge Circle
                                            Suite 106
                                            King of Prussia, PA 19406
                                            Attn: Ari Fischbein
                                            AFischbein@curvature.com
                                            516.351.0520
10 Curvature, Inc.                                                               Trade                                                            $206,705.22
                                            10420,Harris Oaks Blvd
                                            Suite C
                                            Charlotte NC 28269
                                            Attn: James Kimmel
                                            james.kimmel@usa.g4s.com
11 G4S Secure Solutions (USEA) Inc.         646-895-3902                         Trade                                                            $182,840.07
                                            1395 University Blvd.
                                            Jupiter, FL 33458
                                            C/O NIGHTINGALE REALTY, LLC
12 1500 Net-WORKS Associates, L.P.          1430 BROADWAY, SUITE 1605            Trade                                                            $163,991.69
                                            New York, NY 10018
                                            Attn: Katrina Gody
                                            katrina.gody@oracle.com
13 Oracle America, Inc.                     1(888)545-4577                       Trade                                                            $157,881.82
                                            500 Oracle Parkway
                                            Redwood Shores, CA 94065
                                            Attn: Deepanjan Biswas
                                            DeepanjanB@microland.com
                                            +44-7725257948
14 Microland, Limited                                                            Trade                                                            $148,773.01
                                            1B Ecospace, Bellandur
                                            Outer Ring Road
                                            Bangalore, India 560103
                                            P.O. BOX 75434
15 D&B                                                                           Trade                                                            $148,630.04
                                            Chicago, IL 60675
                                            9433 BEE CAVES ROAD
16 The Collective Group, LLC.               BUILDING III, SUITE 200              Trade                                                            $134,062.05
                                            Austin, TX 78733
                                            DEPT CH 16399
17 Xactly Corporation                                                            Trade                                                            $131,032.25
                                            Palatine, IL 60055
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                                                                                                                                 Amount of claim

                                                                                  Nature of claim                    If the claim is fully unsecured, fill in only
                                                                                                                        unsecured claim amount. If claim is
                                                                                   (for example,      Indicate if   partially secured, fill in total claim amount
                                                                                    trade debts,       claim is       and deduction for value of collateral or
     Name of creditor and complete mailing     Name, telephone number and email
                                                                                    bank loans,      contingent,        setoff to calculate unsecured claim.
         address, including zip code              address of creditor contact
                                                                                    professional    unliquidated,                 1Deducti
                                                                                   services, and     or disputed      Total         on for
                                                                                    government                      claim, if      value of
                                                                                                                                                 Unsecured Claim
                                                                                     contracts)                     partially     collateral
                                                                                                                    secured       or setoff
                                                                                                                                      [1]
                                             Attn: Srini Unnava
                                             srini.unnava@nexiilabs.com
                                             91-9848361224
18 Nexii Labs Inc                            2050 Brunswick Plaza-1               Trade                                                            $126,368.00
                                             State Highway 27
                                             Suite#201
                                             North Brunswick, NJ-08902
                                             71 HUDSON STREET
19 760 Washington Avenue LLC                                                      Trade                                                            $121,346.92
                                             Hackensack, NJ 07601
                                             PO BOX 742927
20 Cisco Systems, Inc.                                                            Trade                                                            $117,299.64
                                             Los Angeles, CA 90074
                                             Attn: Scott Day
                                             sday@haynesmechanical.com
21 Haynes Mechanical Systems Inc.            303-710-6531                         Trade                                                             $86,190.22
                                             5654 Greenwood Plaza Blvd
                                             Greenwood Village, CO 80111
                                             PO BOX 75190                         Professional
22 DLA Piper LLP (US)                                                                                                                               $82,832.93
                                             Baltimore, MD 21275                  Services
                                             305 GREGSON DRIVE
23 ABB. Inc.                                                                      Trade                                                             $80,155.88
                                             Cary, NC 27511
     Iron Mountain Off-Site Data             P.O. BOX 915026
24                                                                                Trade                                                             $71,753.09
     Protection                              Dallas, TX 75391
                                             PO BOX 37794
25 McCollister’s Transportation Group                                             Trade                                                             $67,040.88
                                             Baltimore, MD 21297
                                             783 MARKET STREET
26 Cannella Roofing Inc.                                                          Trade                                                             $65,500.00
                                             Paterson, NJ 07513
                                             201 E Baltimore St.
27 VSS LLC                                   Suite 1400                           Trade                                                             $64,130.00
                                             Baltimore, MD 21202
                                             PO BOX 40949
28 FIS Avantgard LLC                                                              Trade                                                             $64,015.03
                                             Jacksonville, FL 32203
                                             Attn: Lucien Shelton
                                             lucien.shelton@dell.com
29 EMC Corporation                           303-601-3133                         Trade                                                             $63,289.63
                                             176 South Street
                                             Hopkinton, MA 01748
                                             150 N. BROAD STREET
30 Parkway Corporation                                                            Trade                                                             $60,274.29
                                             Philadelphia, PA 19102
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           )
     In re:                                                )       Chapter 11
                                                           )
     SUNGARD AVAILABILITY SERVICES                         )       Case No. 19-___________(RDD)
     CAPITAL, INC.,                                        )
                                                           )
                              Debtor.                      )
                                                           )

                                    LIST OF EQUITY SECURITY HOLDERS2

              Debtor                Equity Holders               Address of Equity Holder       Percentage of
                                                                                                 Equity Held
                                                               c/o Bain Capital, LLC
     Sungard Availability       Bain Capital Integral          John Hancock Tower
                                                                                                    14.16%
     Services Capital, Inc.     Investors, LLC                 200 Clarendon St. Fl 41
                                                               Boston, MA 02116-0516
                                                               c/o Blackstone Management
                                                               Partners IV L.L.C.
     Sungard Availability       Blackstone Capital             345 Park Avenue, 31st Floor
                                                                                                     7.60%
     Services Capital, Inc.     Partners IV L.P.               New York, NY 10154
                                                               Attention: Chinh Chu

                                                               c/o Blackstone Management
                                                               Partners IV L.L.C.
                                Blackstone GT
     Sungard Availability                                      345 Park Avenue, 31st Floor
                                Communications                                                       5.99%
     Services Capital, Inc.                                    New York, NY 10154
                                Partners L.P.
                                                               Attention: Chinh Chu

                                                               c/o Kohlberg Kravis Roberts &
                                                               Co L.P.
     Sungard Availability       KKR Millennium Fund            2800 Sand Hill Road, Suite 200
                                                                                                    14.07%
     Services Capital, Inc.     L.P.                           Menlo Park, CA 94025
                                                               Attn: James H. Greene, Jr.

                                                               c/o Providence Equity
                                                               Partners Inc.
     Sungard Availability       Providence Equity              50 Kennedy Plaza
                                                                                                     7.63%
     Services Capital, Inc.     Partners V LP                  18th Floor
                                                               Providence, RI 02903
                                                               Attn: Jonathan M. Nelson
                                                               c/o Silver Lake
                                                               Finance Department
     Sungard Availability       Silver Lake Partners II,
                                                               10080 N. Wolfe Road                  14.28%
     Services Capital, Inc.     L.P.
                                                               SW3-190
                                                               Cupertino, CA 95014


 2
        This list reflects single-entity holders of five percent or more of Sungard Availability Services Capital,
        Inc.’s equity. This list serves as the disclosure required to be made by the debtor pursuant to rule 1007
        of the Federal Rules of Bankruptcy Procedure.
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                                                   c/o Texas Pacific Group
                                                   301 Commerce Street
                                                   Fort Worth, TX 76102
 Sungard Availability
                           TPG Partners IV, L.P.   Attn: Ronald Cami,              8.60%
 Services Capital, Inc.
                                                   General Counsel
                                                   Contact: Tim Millikin
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 SUNGARD AVAILABILITY SERVICES                        )    Case No. 19-___________(RDD)
 CAPITAL, INC.,                                       )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Silver Lake Partner II, L.P.                                               14.28%
     KKR Millennium Fund L.P.                                                   14.07%
     Bain Capital Integral Investors, LLC                                       14.16%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Sungard Availability Services Capital, Inc.

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Eric S. Koza
                                       05/01/2019
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Eric S. Koza
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 SUNGARD AVAILABILITY SERVICES CAPITAL, INC.

                                           May 1, 2019

I, William T. Price, Secretary of Sungard Availability Services Capital, Inc., a Delaware
corporation (the “Corporation”), do hereby certify the following:

      1.       I am the duly qualified and appointed Secretary of the Corporation.

      2.       Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
               (the “Resolutions”) duly adopted by the board of directors of the Corporation acting
               pursuant to the Corporation’s bylaws (as amended, amended and restated,
               modified, supplemented or replaced from time to time, the “Bylaws”).

      3.       The Resolutions are not inconsistent with the Bylaws.

      4.       The Resolutions have not been amended, modified, repealed, or rescinded since
               adopted, and are in full force and effect on and as of the date hereof.

                                      [Signature page follows]
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                                    EXHIBIT A
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                  RESOLUTIONS OF THE BOARD OF DIRECTORS OF

                 SUNGARD AVAILABILITY SERVICES CAPITAL, INC.

                                    Dated as of May 1, 2019

WHEREAS, the undersigned members of the board of directors (the “Board”) of Sungard
Availability Services Capital, Inc. (the “Company”), hereby take the following actions and adopt
the following resolutions (the "Resolutions”) pursuant to the organizational documents of the
Company and the laws of the state of Delaware;

WHEREAS, the Company and certain of its affiliates (together, the “Restructuring Parties”)
negotiated and, as of April 1, 2019, entered into the Restructuring Support Agreement
(the “RSA”), which agreement contemplates a comprehensive restructuring of the Restructuring
Parties’ capital structure on the terms set forth therein;

WHEREAS, pursuant to the direction of the Board, the Company’s management and advisors
engaged in good-faith negotiations with the Restructuring Parties’ Sponsors and Consenting
Creditors (each as defined in the RSA) over the terms of the Joint Prepackaged Chapter 11 Plan
of Reorganization of Sungard Availability Services Capital, Inc. and Its Debtor Affiliates Pursuant
to Chapter 11 of the Bankruptcy Code (as may be amended, modified, or supplemented, the
“Plan”);

WHEREAS, the Board, based on its business judgment and acting in the best interests of the
Company, its creditors, and other parties in interest, approved the Plan and disclosure statement
related thereto for solicitation of votes from the holders of the Credit Agreement Claims and Notes
Claims (each as defined in the RSA) entitled to vote on the Plan and for filing with the United
States Bankruptcy Court for the Southern District of New York, if and when appropriate, and
solicitation of the Plan commenced on April 5, 2019;

WHEREAS, the deadline for the receipt of votes to accept or reject the Plan was April 26, 2019;
and

WHEREAS, the Board discussed the foregoing with the Company’s management and advisors
and the Board has fully considered each of the strategic alternatives available to each Subsidiary
and has determined, in the judgment of the Company, that the following resolutions are in the best
interests of the Company and its creditors.

NOW, THEREFORE, BE IT:

Restructuring Support Agreement; Chapter 11 Plan; Solicitation

RESOLVED, that in the business judgment of the Board, it is desirable, and in the best interests
of the Company, its creditors, and other parties in interest, to have entered into the RSA and that
the Company’s performance of its obligations under the RSA, including the negotiation and
documentation of the Plan and commencement of the prepackaged solicitation of the Plan and
Disclosure Statement (as defined in the RSA), and all exhibits, schedules, attachments, and
ancillary documents or agreements related thereto, hereby is, in all respects approved and ratified
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with the same force and effect as if each such act, transaction, agreement, or certificate has been
specifically authorized in advance by the Board.

Chapter 11 Filing

WHEREAS, the Board has considered presentations by the management and the financial and
legal advisors of the Company regarding the liabilities and liquidity situation of the Company, the
strategic alternatives available to it, and the effect of the foregoing on the Company’s business;
and

WHEREAS, the Board has had the opportunity to consult with the management and the financial
and legal advisors of the Company and fully consider each of the strategic alternatives available
to the Company.

NOW, THEREFORE, BE IT:

RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of the
Company (including a consideration of its creditors and other parties in interest) that the Company
shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition for relief (the
“Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may
be desirable under applicable law in the United States; and

RESOLVED, that the Chief Executive Officer, the Chief Restructuring Officer, the Chief Financial
Officer, the President, the General Counsel, the Chief Operating Officer, any Senior Vice
President, any Vice President, any Assistant Vice President, or any other duly appointed officer of
the Company (collectively, the “Authorized Signatories”), acting alone or with one or more other
Authorized Signatories be, and they hereby are, authorized, empowered and directed to execute
and file on behalf of the Company all petitions, schedules, lists and other motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of
the Company’s business.

Restructuring Transactions and Documents

RESOLVED, that each of the Authorized Signatories, acting alone or with one or more other
Authorized Signatories be, and hereby are, authorized and empowered to enter into, on behalf of
the Company, a restructuring transaction or series of restructuring transactions by which the
Company will restructure its debt obligations or other liabilities (collectively,
the “Restructuring Transactions”);

RESOLVED, that each of the Authorized Signatories, acting alone or with one or more other
Authorized Signatories be, and hereby are, authorized and empowered to take, or cause to be taken,
any and all such other and further action, and to execute (under the common seal of the Company,
if appropriate), acknowledge, deliver, and file any and all such agreements, certificates,
instruments, and other documents in furtherance of the Restructuring Transactions to which the
Company is or will be a party (collectively, the “Restructuring Documents”), to incur and pay or

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cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Board, with such changes, additions and
modifications thereto as the Authorized Signatories executing the same shall, in their absolute
discretion approve, such approval to be conclusively evidenced by such Authorized Signatories'
execution and delivery thereof; and

RESOLVED, that each of the Authorized Signatories be, acting alone or with one or more other
Authorized Signatories, and hereby are, authorized, directed and empowered in the name of, and
on behalf of, the Company to take any and all actions to (i) obtain approval by a court of competent
jurisdiction or any other regulatory or governmental entity of the Restructuring Documents in
connection with the Restructuring Transactions, and (ii) obtain approval by any court of competent
jurisdiction or any other regulatory or governmental entity of any Restructuring Transactions.

Retention of Professionals

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”) as general bankruptcy counsel to represent and assist the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Kirkland;

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of AlixPartners, LLP (“AlixPartners”) to provide a Chief Restructuring
Officer to, among other things, assist the Company in evaluating its business and prospects,
developing a long-term business plan, developing financial data for evaluation by the Board,
creditors, or other third parties, as requested by the Company, evaluating the Company’s capital
structure, responding to issues related to the Company’s financial liquidity, and in any sale,
reorganization, business combination, or similar disposition of the Company’s assets; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of AlixPartners;

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Centerview Partners LLC (“Centerview”) as financial advisor and
investment banker to the Company to represent and assist the Company in carrying out their duties
under the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and pay all related fees as set forth in the April 30, 2019 agreement between
Centerview and the Company, which amends, supersedes and retstates in its entirety the prior
agreement dated as of December 20, 2018, and to cause to be filed an appropriate application for
authority to employ or retain the services of Centerview;


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RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Prime Clerk, LLC (“Prime Clerk”) as notice and claims agent to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance the Company’s rights and obligations; and in connection therewith,
each of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain the services of Prime Clerk;

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist the Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary; and

RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with the Company’s Chapter 11 Case, with a
view to the successful prosecution of such case.

Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

RESOLVED, that the Company will obtain benefits from (a) the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is security for certain prepetition secured lenders (collectively, the “Secured Lenders”) party
to that certain Credit Agreement, dated as of March 31, 2014 (as amended and restated as of July
19, 2017 and as further amended, restated, amended and restated, supplemented or otherwise
modified from time to time), by and among Sungard Availability Services Capital, Inc., as
borrower, the other Restructuring Parties, as guarantors, and JPMorgan Chase Bank, N.A. as
administrative agent and collateral agent (the “Agent”), and (b) the incurrence of debtor-in-
possession financing obligations (the “DIP Financing”);

RESOLVED, that in order to use and obtain the benefits of (a) the DIP Financing and (b) the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company will provide
certain adequate protection to the Secured Lenders (the “Adequate Protection Obligations”), as
documented in a proposed order in interim and final form (the “DIP Order”) and submitted for
approval to the Bankruptcy Court;

RESOLVED, that the form, terms, and provisions of the DIP Order to which the Company is or
will be subject, and the actions and transactions contemplated thereby be, and hereby are
authorized, adopted, and approved, and each of the Authorized Signatories of the Company be,
and hereby is, authorized and empowered, in the name of and on behalf of the Company, to take
such actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform,
and cause the performance of, the DIP Order, and such other agreements, certificates, instruments,

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receipts, petitions, motions, or other papers or documents to which the Company is or will be a
party, including, but not limited to, any security and pledge agreement or guaranty agreement
(collectively with the DIP Order, the “DIP Documents”), incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, in the form or substantially in the form thereof
submitted to the Board, with such changes, additions, and modifications thereto as the officers of
the Company executing the same shall approve, such approval to be conclusively evidenced by
such officers’ execution and delivery thereof;

RESOLVED, that the Company, as debtor and debtor in possession under the Bankruptcy Code
be, and hereby is, authorized to incur the Adequate Protection Obligations and to undertake any
and all related transactions on substantially the same terms as contemplated under the DIP
Documents (collectively, the “DIP Transactions”), including granting liens on its assets to secure
such obligations;

RESOLVED, that the Authorized Signatories of the Company be, and they hereby are, authorized
and directed, and each of them acting alone hereby is, authorized, directed, and empowered in the
name of, and on behalf of, the Company, as debtor and debtor in possession, to take such actions
as in their discretion is determined to be necessary, desirable, or appropriate and execute the DIP
Transactions, including delivery of: (a) the DIP Documents and such agreements, certificates,
instruments, guaranties, notices, and any and all other documents, including, without limitation,
any amendments to any DIP Documents (collectively, the “DIP Financing Documents”); (b) such
other instruments, certificates, notices, assignments, and documents as may be reasonably
requested by the Agent; and (c) such forms of deposit, account control agreements, officer’s
certificates, and compliance certificates as may be required by the DIP Documents or any other
DIP Financing Document;

RESOLVED, that each of the Authorized Signatories of the Company be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, the Company to file or to
authorize the Agent to file any Uniform Commercial Code (the “UCC”) financing statements, any
other equivalent filings, any intellectual property filings and recordation and any necessary
assignments for security or other documents in the name of the Company that the Agent deems
necessary or appropriate to perfect any lien or security interest granted under the DIP Order,
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of the Company and such other filings in respect of
intellectual and other property of the Company, in each case as the Agent may reasonably request
to perfect the security interests of the Agent under the DIP Order; and

RESOLVED, that each of the Authorized Signatories of the Company be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, the Company to take all
such further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the DIP Transactions and all fees and expenses incurred by
or on behalf of the Company in connection with the foregoing resolutions, in accordance with the
terms of the DIP Financing Documents, which shall in their sole judgment be necessary, proper,
or advisable to perform the Company’s obligations under or in connection with the DIP Order or


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any of the other DIP Financing Documents and the transactions contemplated therein and to carry
out fully the intent of the foregoing resolutions.

Exit Financing

WHEREAS the Board deems it advisable and in the best interests of the Company, its creditors,
and other parties in interest that the Company enter into those certain new money and take-back
credit agreements, upon emergence from bankruptcy (the “Exit Financing Credit Agreements”)
and grant security interests and/or guarantees in relation thereto, for the purposes of providing
ongoing financing utilizing via exit term loans or other extensions of credit, and exit asset-backed-
lending or other revolving loan facility (the “Exit Revolver” and collectively with the Exit
Financing Credit Agreements, “Exit Financing”) to the Company;

WHEREAS, the Company by receiving Exit Financing, will receive direct and indirect benefits
from the transactions contemplated by the Exit Financing Credit Agreements, the terms and
conditions of which have been previously reviewed by the Board and consequently, the Company
desires to enter into (i) the Exit Financing Credit Agreements, (ii) the Exit Revolver, and (iii) any
related documents, and, to the extent the Company is a party thereto, the Additional Credit
Documents (as defined below) (collectively, the “Exit Financing Credit Documents”) and the
transactions contemplated thereby; and

WHEREAS, the Board deems the execution and delivery of the Exit Financing Credit Documents,
the Exit Revolver, and the Additional Credit Documents, and the transactions consummated
thereby, to be desirable, advisable and in the best interest of the Company.

NOW, THEREFORE, BE IT:

RESOLVED, that the execution and delivery of the Exit Financing Credit Agreements and the
other Exit Financing Credit Documents (and the incurrence of the obligations thereunder) by the
Company in substantially the form previously submitted to the Board and the consummation of
the transactions contemplated thereunder by the Company, including (i) the execution, delivery
and performance of all other agreements, instruments, documents, notices or certificates
constituting exhibits to or that may be required, necessary, appropriate, desirable or advisable to
be executed and delivered pursuant to the Exit Financing Credit Documents or otherwise permitted
thereunder or related thereto, including interest rate, currency or commodity hedging arrangements
(each, an “Additional Credit Document” and, collectively, the “Additional Credit Documents”),
(ii) any granting of security interests and/or guarantees in relation thereto and (iii) the making of
representations and compliance with the covenants thereunder and the assumption of any
obligations under and in respect of any of the foregoing, are hereby authorized and approved, and
that the Authorized Signatories, any one of whom may act without the joinder of any of the others,
is hereby severally authorized, empowered and directed, in the name and on behalf of the
Company, to execute and deliver each Exit Financing Credit Document and each Additional Credit
Document to which the Company is a party, with such changes therein and additions thereto as
any such Designated Officer, in his sole discretion, may deem necessary, convenient, appropriate,
advisable or desirable, the execution and delivery of such Exit Financing Credit Documents and
such Additional Credit Documents with any changes thereto by any such Designated Officer, to
be conclusive evidence that such Designated Officer deemed such changes to meet such standard;

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RESOLVED, that, as used herein, the term “Additional Credit Documents” shall include, but not
be limited to:

   a. any related lien subordination or intercreditor agreements; and

   b. all other documents, certificates or agreements necessary, proper or advisable to
      consummate the transactions contemplated by the Exit Financing Credit Documents,
      including, without limitation, each note, each fee letter, each guarantee agreement, each
      security agreement, each mortgage, each pledge, each intellectual property security interest
      agreement, each intellectual property security agreement, and any other documentation
      similar to any of the foregoing; and

RESOLVED, that each of the Authorized Signatories of the Company, any one of whom may act
without the joinder of any of the others, is hereby severally authorized, in the name of and on
behalf of the Company, to take all actions (including, without limitation, (i) the negotiation,
execution, delivery and filing of any agreements, certificates, instruments or documents (including
mortgages, financing statements and similar documents), (ii) the modification, restatement, or
amendment of any of the terms and conditions of any Exit Financing Credit Document and any
Additional Credit Document, (iii) the payment of any consideration and (iv) the payment of
indemnitees, fees, costs, expenses and taxes) as any such Authorized Signatory, in his sole
discretion, may deem necessary, appropriate or advisable (such acts to be conclusive evidence that
such Authorized Signatory deemed the same to meet such standard) in order to effect the
transactions contemplated under any Exit Financing Credit Documents and any other Additional
Credit Document, and all acts of any such Authorized Signatory taken pursuant to the authority
granted herein, or having occurred prior to the date hereof in order to effect such transactions, are
hereby approved, adopted, ratified and confirmed in all respects.

General

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, authorized and empowered, in the name of and on behalf of the Company, to
take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver and file any and all such agreements, certificates, instruments and other documents and to
pay all expenses, including but not limited to filing fees, in each case as in such Authorized
Signatory’s judgment, shall be necessary, advisable or desirable in order to fully carry out the
intent and accomplish the purposes of the resolutions adopted herein;

RESOLVED, that the Board of the Company has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waive any right to have received such
notice;

RESOLVED, that all acts, actions and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of the Company, which acts would have
been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of

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the Company with the same force and effect as if each such act, transaction, agreement or
certificate has been specifically authorized in advance by resolution of the Board; and

RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of
the Company with respect to the transactions contemplated by these resolutions hereunder, as such
Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable
business judgment to effectuate the purposes of the transactions contemplated herein.

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